                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                              WESTERN DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                               No. CR07-4002-MWB
 vs.                                            ORDER ACCEPTING MAGISTRATE
                                                     JUDGE’S REPORT AND
 RAFAEL MURILLO-GUZMAN,
                                                RECOMMENDATION REGARDING
                 Defendant.                       DEFENDANT’S GUILTY PLEA
                                  ____________________

                        I. INTRODUCTION AND BACKGROUND
         On January 25, 2007, an indictment was returned against defendant Rafael Murillo-
Guzman, charging defendant with conspiring to distribute and possess with intent to
distribute more than 100 kilograms of marijuana, in violation of 21 U.S.C. §§ 841(a)(1),
 841(b)(1)(B) and 846. On June 14, 2007, defendant appeared before United States
Magistrate Judge Paul A. Zoss and entered a plea of guilty to Count 1 of the indictment.
On this same date, Judge Zoss filed a Report and Recommendation in which he
recommends that defendant’s guilty plea be accepted. No objections to Judge Zoss’s
Report and Recommendation were filed. The court, therefore, undertakes the necessary
review of Judge Zoss’s recommendation to accept defendant’s plea in this case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the



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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of June 14, 2007,
and accepts defendant’s plea of guilty in this case to Count 1 of the indictment.
      IT IS SO ORDERED.
      DATED this 29th day of June, 2007.


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                                                MARK W. BENNETT
                                                U. S. DISTRICT COURT JUDGE
                                                NORTHERN DISTRICT OF IOWA




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